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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION


AUDREY FRIEBELE,         )
    Plaintiff,           )
                         )
    vs.                  )                   Case No. 1:18-cv-5533
                         )
EXXON MOBIL CORPORATION, )                  JURY TRIAL DEMANDED
    Defendant.           )


                                 COMPLAINT

      Plaintiff AUDREY FRIEBELE, by and through her counsel, Salvatore

Prescott & Porter, PLLC, brings this complaint against her employer,

Defendant EXXON MOBIL CORPORATION, and states as follows:

I.    INTRODUCTION

      1.    EXXON MOBIL’s Joliet Refinery has for decades had a male-

dominated culture in which egregious sexual harassment against women and

retaliation against those who attempt to report sexual harassment is

perpetuated by corporate leadership.

      2.    AUDREY FRIEBELE was one of only a few female employees

working at the Joliet refinery. She had worked for nearly seven years as a

Process Technician and was a strong performer with no disciplinary issues.

That changed after she reported sexual harassment by two supervisors—one

of whom had sent her a picture of his penis and regularly called her names
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such as “sexy little bitch,” and another who pressured her aggressively and

consistently for sexual favors. After their conduct was reported, FRIEBELE

was investigated, disciplined, and then terminated for pretextual reasons.

II.     JURISDICTION AND VENUE

        3.    This Court has subject-matter jurisdiction over plaintiff’s federal

claims, which arise under the laws of the United States, pursuant to 28 U.S.C.

§ 1331.

        4.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b),

because the events giving rise to the claims occurred in this district.

        5.    On or about August 9, 2017, FRIEBELE filed a charge of sex

discrimination and retaliation with the Equal Employment Opportunity

Commission. On or about May 18, 2018, FRIEBELE received a Notice of Right

to Sue from the EEOC, authorizing her to commence this lawsuit.

III.    THE PARTIES

        6.    Plaintiff AUDREY FRIEBELE resides in the Northern District of

Illinois. She was an EXXON MOBIL employee from February of 2010 until

her termination on or around November 21, 2016.

        7.    Defendant EXXON MOBIL is a corporation doing business in the

Northern District of Illinois. EXXON MOBIL operates a refinery at Arsenal

Road and I-55, Channahon, IL 60410, approximately 40 miles southwest of




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Chicago, known as the Joliet Refinery. At all times relevant to this action,

EXXON MOBIL has employed more than 15 individuals.

IV.     FACTUAL ALLEGATIONS

        8.      FRIEBELE started working for EXXON MOBIL as a Process

Technician at the Joliet Refinery in 2010. As a Process Technician, FRIEBELE

was responsible for operating and maintaining unit equipment, performing

routine maintenance on unit equipment, conducting surveillance and

recording data and performing emergency response duties related to

equipment malfunction.

        9.      The Joliet Refinery is a massive facility and one of the largest

operated by EXXON MOBIL. It can be a dangerous workplace, and it has been

listed as one of the most dangerous chemical facilities in the country.

        10.     FRIEBELE has always been one of only a few women in her

position at the Refinery. She was good at her job, with no disciplinary issues

prior to complaining of egregious sexual harassment by two supervisors.

   A.         Friebele Was Subjected To Sex Discrimination                        And
              Harassment By Supervisor Lonnie Harper

        11.     During her employment at EXXON MOBIL, FRIEBELE was

subjected to differential treatment based on her sex by Lonnie Harper, who

was her direct supervisor on her regular shift, as well as on her “B Crew”




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overtime shift. Mr. Harper had a senior role at the Joliet Refinery and his

father also held a senior role at the company.

      12.   Mr.     Harper    routinely       called   Ms.   FRIEBELE     sexually

inappropriate names both directly to her and to her co-workers. For example,

Harper called FRIEBELE “Ms. Hot Pants,” “Pretty Little Bitch,” and “Sexy

Little Bitch.”

      13.   Frequently, Harper would embarrass her by calling her sexual

names in front of co-workers. He would treat her worse than male workers by

picking apart her work orders, and singling her out to embarrass and humiliate

her in front of co-workers. For example, during his employee reviews with

other employees, Harper would bring up FRIEBELE’s name and speak poorly

about her, telling co-workers he was going to laugh when the “Sexy Little

Bitch” got fired.

      14.   Mr. Harper also harassed another woman at the Refinery, Meg

Oclese. Both in person and over the radio, Harper would single her out, put

her down and go out of his way to make sure that she would fail. Harper did

not engage in similar conduct towards male employees.

      15.   Mr. Harper’s conduct was reported to a supervisor, Gimi Tabiadon,

who stated that pursuant to company policy he had to take the information to

Human Resources (“HR”), which he did.              Subsequently, FRIEBELE was

contacted by HR, who told her that they would conduct an investigation.


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   B.         EXXON MOBIL Did A Sham Investigation Of Harper

        16.     When Harper found out that he was being investigated for his

conduct, FRIEBELE was told to “get rid of HR.” Before FRIEBELE even met

with HR, she was instructed to send an email telling HR that she had spoken

to Art Arias, her zone supervisor, and that the matter could be resolved without

HR’s involvement.

        17.     Fearing retaliation, FRIEBELE sent the email to HR. HR

responded that EXXON MOBIL policy required a full investigation. The

following week, FRIEBELE met with HR and provided the names of three

witnesses who were aware of Harper’s conduct.

        18.     Several weeks later, Scott Carpenter in HR met with FRIEBELE

again and told her that after speaking with witnesses and Mr. Harper they had

found no wrongdoing on Mr. Harper’s part. Carpenter told FRIEBELE that if

she spoke about the HR investigation to anyone – including to the witnesses

who were interviewed – she would be terminated.

        19.     FRIEBELE asked Mr. Carpenter why Mr. Harper wasn’t being

reprimanded for calling her names and harassing her. Mr. Carpenter told

FRIEBELE that “it’s just the way things go,” and “it’s none of your business.”

        20.     FRIEBELE subsequently asked the three witnesses whose names

she had given to HR whether they had been interviewed. All three individuals

told her that HR had never contacted them.


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   C.         Friebele Was Also Sexually Harassed By Complex Coordinator
              Rich Chapman

        21.     Throughout her employment at the Joliet Refinery FRIEBELE

also had to endure regular sexual harassment by Rich Chapman, who was the

Complex Coordinator at the Joliet Refinery.        The Complex Coordinator is

directly responsible for career progression, as he controls special assignments

and projects that can lead to promotion.

        22.     Chapman’s conduct towards FRIEBELE was egregious.                For

example, when FRIEBELE was getting certified in the CAT unit, Mr.

Chapman was giving her a walk-through of the building. He grabbed intimate

parts of FRIEBELE’s body while telling her that if she answered any questions

wrong, she would have to go to the bar and have a drink with him and ride

naked on his motorcycle.

        23.     Chapman also told FRIEBELE about sexual things that he wanted

to do to her. FRIEBELE told him to stop, that she was uncomfortable, and

that he could get in trouble. Chapman would respond by saying things like:

“Well, OK, I guess you just want to be an operator all of your life,” and “I guess

you don’t want a promotion.”

        24.     When FRIEBELE was pregnant, Chapman told her that her being

pregnant “turned him on” and that he “fantasized” about bending her over his

desk and having sex with her while pregnant.



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        25.     Chapman sent her sexually explicit messages through the work

computer messenger system. He sent her pictures of his penis and exposed

genitalia at his work desk in his office. And he asked FRIEBELE to take rides

to the back of the facility in his company truck to concealed areas of the

property. Once there, he would touch her without her consent and tell her that

he wanted to have sex with her every time he saw her.

        26.     Chapman’s sexual conduct towards Plaintiff continued until her

termination in 2016.

   D.         When Friebele Reported Chapman’s Harassment, She Was
              Terminated And No Investigation of Chapman Was Conducted

        27.     FRIEBELE told Chapman to stop his harassment, which angered

him. Chapman then retaliated against FRIEBELE by passing her over for jobs

and special assignments.

        28.     FRIEBLE reported Chapman’s behavior to Doug Lynn, her

immediate boss.

        29.     Chapman told FRIEBELE that Doug Lynn had told him about her

complaints of sexual harassment, and that he felt he had to take steps to “cover

himself.” He told her that if she would just “do as she needed to do,” he could

“turn it all around.” Chapman told FRIEBLE prior to her termination that if

she would only give him a blow job that things would improve for her in terms

of how she was being treated by managers.



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        30.   FRIEBELE was upset by these comments and threats to retaliate.

She knew that Doug Lynn had gone to Chapman, so she then went to Greg

Schultz, her zone supervisor, who assured her that the company would

investigate and that he would notify HR. Shortly thereafter, and before any

investigation was done, FRIEBELE was notified that she was being

investigated for allegedly violating company policy.          She was terminated

within a few weeks.

        31.   FRIEBELE’s alleged violations of company policy were pretextual

and were minor in comparison to the types of policy violations that male

colleagues routinely engaged in without consequence.

                                   COUNT I
                          Discrimination Based on Sex
                                   Title VII

        32.   FRIEBELE incorporates the foregoing allegations here.

        33.   FRIEBELE is one of very few women working at the Joliet

Refinery.

        34.   Title VII provides that employers may not discriminate against

any individual with respect to her compensation, terms, conditions, or

privileges of employment because of the individual’s sex.

        35.   FRIEBELE is an employee of EXXON MOBIL as defined by Title

VII.

        36.   EXXON MOBIL is an employer as defined by Title VII.


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      37.   FRIEBELE has been targeted and harassed, disciplined and

terminated because she is a woman. She has been treated differently than

similarly-situated male employees.

      38.   The actions of EXXON MOBIL were intentional, willful, in

deliberate disregard of, and with reckless indifference to FRIEBELE’s rights.

      39.   As a direct and proximate result of those actions, the terms,

conditions, and privileges of FRIEBELE’S employment were adversely

affected.

      40.   As a further direct and proximate result of EXXON MOBIL’s

unlawful actions against FRIEBELE as described, FREIBELE has sustained

injuries and damages, including but not limited to the loss of earnings and

earning capacity; physical harm; and mental and emotional distress, including

anxiety, mental anguish, humiliation, and embarrassment.

                              COUNT II
              Hostile Work Environment--Sex Harassment
                               Title VII

      41.   FRIEBELE incorporates the foregoing allegations here.

      42.   Throughout her employment with EXXON MOBIL, FRIEBELE

was subjected to conduct that is sexual in nature and directed at her because

of sex. That conduct was severe and pervasive and was not welcome. The

conduct was engaged in by supervisors.

      43.   FRIEBELE reported the conduct, but it did not stop.


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      44.   The discriminatory conduct included, but was not limited to:

verbal harassment and slurs; explicit pictures and messages of a sexual nature;

physical harassment and touching; and denial of opportunities for training,

promotion, and additional compensation.

      45.   The actions of EXXON MOBIL were intentional, willful, in

deliberate disregard of, and with reckless indifference to FRIEBELE’s rights.

      46.   As a direct and proximate result of those actions, the terms,

conditions, and privileges of FRIEBELE’S employment were adversely

affected.

      47.   As a further direct and proximate result of EXXON MOBIL’s

unlawful actions against FRIEBELE as described, FREIBELE has sustained

injuries and damages, including but not limited to the loss of earnings and

earning capacity; physical harm; and mental and emotional distress, including

anxiety, mental anguish, humiliation, and embarrassment.




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                              COUNT III
                    Quid Pro Quo Sexual Harassment
                               Title VII

      48.   FRIEBELE incorporates the foregoing allegations here.

      49.   FRIEBELE was denied promotional and training opportunities

and had her job threatened for objecting to supervisors’ efforts to engage in

sexual contact with her.

      50.   After she refused to go along with a supervisor’s sexual advances,

she was terminated.

      51.   The actions of EXXON MOBIL were intentional, willful, in

deliberate disregard of, and with reckless indifference to FRIEBELE’s rights.

      52.   As a direct and proximate result of those actions, the terms,

conditions, and privileges of FRIEBELE’S employment were adversely

affected.

      53.   As a further direct and proximate result of EXXON MOBIL’s

unlawful actions against FRIEBELE as described, FREIBELE has sustained

injuries and damages, including but not limited to the loss of earnings and

earning capacity; physical harm; and mental and emotional distress, including

anxiety, mental anguish, humiliation, and embarrassment.

                                 COUNT IV
                                 Retaliation
                                  Title VII

      54.   FRIEBELE incorporates the foregoing allegations here.


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      55.   FRIEBELE engaged in protected activity when she made

complaints to EXXON MOBIL, including to supervisors and to Human

Resources, and participated in the Company’s investigation of harassment and

discrimination by her supervisors.

      56.   EXXON MOBIL retaliated against FRIEBELE by the conduct

described above, including but not limited to: discouraging her from going to

HR; failing to conduct an appropriate investigation; and failing to discipline

her male supervisors who harassed her; continuing to assign her to work for

and with men who had harassed and harmed her; and disciplining her and

then terminating her for conduct that other colleagues who had not reported

harassment would not be disciplined and/or terminated for.

      57.   EXXON MOBIL’s actions were intentional, willful, in deliberate

disregard of, and with reckless indifference to FRIEBELE’s rights.

      58.   As a direct and proximate result of those actions, the terms,

conditions, and privileges of FRIEBELE’s employment were adversely

affected.

      59.   As a further direct and proximate result of EXXON MOBIL’s

unlawful actions against FREIBELE as described, FRIEBELE has sustained

injuries and damages, including but not limited to the loss of earnings and

earning capacity; physical harm; and mental and emotional distress, including

anxiety, mental anguish, humiliation, and embarrassment.


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     WHEREFORE, Plaintiff AUDREY FRIEBELE requests judgment in her

favor and against EXXON MOBIL, as follows:

     a.    Declaratory relief, including but not limited to a declaration that

           EXXON MOBIL violated Title VII;

     b.    Injunctive relief, including but not limited to requiring EXXON

           MOBIL to enact and implement policies and procedures to

           eliminate harassment based on sex at the EXXON MOBIL Joliet

           Refinery;

     c.    Compensatory damages in an amount to be determined at trial;

     d.    Punitive damages;

     e.    Attorneys’ fees, costs, and expenses;

     f.    Pre-judgment and post-judgment interest; and

     g.    To grant further relief as this Court should find just and proper.




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Dated: August 14, 2018               By:    /s/ Jennifer B. Salvatore
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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

AUDREY FRIEBELE,         )
    Plaintiff,           )
                         )
    vs.                  )
                         )
EXXON MOBIL CORPORATION, )                  JURY TRIAL DEMANDED
    Defendant.           )



                       DEMAND FOR JURY TRIAL
     NOW COMES Plaintiff, AUDREY FRIEBELE, by and through her

attorneys, Salvatore Prescott & Porter, PLLC, and hereby demands a jury trial

in the above-captioned matter.

Dated: August 14, 2018                      By:   /s/ Jennifer B. Salvatore
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